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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Southern District of New York


                      STEPHEN LALLY                                 )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.
                                                                    )
            NOVARTIS PHARMACEUTICALS                                )
                  CORPORATION                                       )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                     Novartis Pharmaceuticals Corporation
                                     c/o Corporation Service Company
                                     R.A. Princeton South Corporate Ctr., Ste. 160
                                     100 Charles Ewing Blvd.
                                     Ewing, NJ 08628
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Raymond C. Silverman
                                           Christopher Oxx
                                           PARKER WAICHMAN LLP
                                           6 Harbor Park Dr.
                                           Port Washington, NY 11050


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT

               3/18/2020                                                            /s/ P. Canales
Date:
                                                                                         Signature of Clerk or Deputy Clerk
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